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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
__________________________________________
                                            )
In re:                                      )                  Chapter 15
                                            )
PLATINUM PARTNERS VALUE                     )                  Case No. 16-12925 (SCC)
ARBITRAGE FUND L.P. (IN OFFICIAL            )
LIQUIDATION), et al.,                       )                  (Jointly Administered)
                                            )
            Debtors in Foreign Proceedings. )
_________________________________________ )

     CONFIDENTIALITY AGREEMENT AND STIPULATED PROTECTIVE ORDER

         This CONFIDENTIALITY AGREEMENT AND STIPULATED PROTECTIVE
ORDER (the “Order”) is executed as of May 13, 2019 (the “Effective Date”) between Cosimo
Borrelli and Luke Almond, the foreign representatives and duly appointed joint official
liquidators of Platinum Partners Value Arbitrage Fund (International) Ltd. (in official
liquidation) (the “International Fund”) and Platinum Partners Value Arbitrage Intermediate Fund
Ltd. (in official liquidation) (the “Intermediate Fund”) and the liquidators of Platinum Partners
Value Arbitrage Fund (USA) L.P. (in liquidation) (the “USA Fund”); and Martin Nicholas John
Trott, the foreign representative of Platinum Partners Value Arbitrage Fund L.P. (the “Master
Fund”) (collectively and for ease of reference, the “Liquidators” of the “PPVA Funds”) and
BDO USA, LLP (“BDO USA” and together with the Liquidators, the “Parties” and each, a
“Party”) in connection with the above-captioned Chapter 15 bankruptcy cases jointly
administered under Case No. 16-12925 (SCC) (the “Chapter 15 Cases”) pending before the
United States Bankruptcy Court for the Southern District of New York (the “Court”). To
facilitate the disclosure of Discovery Material (as defined below) to the Liquidators while
protecting BDO USA from the risk of public dissemination of such information, the Parties
hereby agree that the disclosure of Discovery Material by BDO USA to the Liquidators shall be
governed by the following terms and conditions.

1.       Court Approval. The Parties shall submit this Order to the Court for approval. The
         Parties shall abide by the terms of this Order pending its approval by the Court, and if this
         Order is not entered by the Court for any reason, the Parties shall continue to abide by its
         terms with respect to any Discovery Material (as defined below) produced by BDO USA
         to the Liquidators prior to the Court’s decision not to enter this Order unless the Court
         otherwise determines.

2.       Scope and Definition of Discovery Material and Confidential Material. This Order
         applies to all information, documents and tangible things exchanged, produced or
         otherwise disclosed by BDO USA to the Liquidators in response to any discovery
         requests (formal or informal) by the Liquidators (“Discovery Requests”), including
         without limitation, deposition testimony (whether based upon oral examination or written
         questions), interrogatories, answers to interrogatories, requests for admission, responses
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      to requests for admission, hard copy and electronic documents, information and tangible
      things as well as any and all copies, abstracts, digests, notes, summaries, and excerpts
      thereof (collectively referred to as “Discovery Material”). This Order applies to
      “Confidential Material,” which means any information that BDO USA reasonably
      believes in good faith contains or constitutes non-public personal, confidential or
      commercially sensitive information that requires the protections provided in this Order,
      including, but not limited to, non-public information about employee compensation, tax
      data, or personal financial information; information constituting confidential research or
      business development; information that must be kept confidential pursuant to law or
      regulation; information reasonably likely to cause undue harm to the reputation of, or
      embarrassment to, any individual; any trade secret; or financial, technical, proprietary or
      other commercial information. Confidential Material may be used or disclosed only as
      permitted by the terms of this Order. Except as hereinafter provided, the Liquidators
      agree that the Discovery Material produced by BDO USA and designated Confidential
      Material by BDO USA shall be held confidential by the Liquidators.

3.    Manner of Designation. Any Confidential Material shall be designated by BDO USA as
      such by marking every such page “CONFIDENTIAL.” Such markings should not
      obliterate or obscure the content of the material that is produced. Where marking every
      page of such materials is not reasonably practicable, such as with certain native file
      documents, BDO USA may designate material as “CONFIDENTIAL” by affixing the
      legend “CONFIDENTIAL” on the placeholder page or slipsheet associated with the
      document. BDO USA may also designate any Discovery Material as Confidential
      Material at any time, including, but not limited to, after it has been produced, by
      notifying the Liquidators in writing of that designation. If BDO USA designates any
      Discovery Material as Confidential Material after it has been produced (“Late Designated
      Confidential Material”), the Liquidators shall mark such Late Designated Confidential
      Material as “Confidential” in the metadata field of their document management database
      and will make reasonable efforts to maintain the confidentiality of such Discovery
      Material in accordance with this Order.

4.    Use and Disclosure of Confidential Material. Confidential Material shall be used by
      the Liquidators solely for the purposes of discharging their duties, including without
      limitation, investigating the affairs of the PPVA Funds (which, for avoidance of doubt,
      includes the International Fund, Intermediate Fund, USA Fund, and the Master Fund),
      investigating and pursuing claims that the PPVA Funds’ estates may have against any
      and all persons, defending claims if any against the PPVA Funds’ estates, and reporting
      to the Grand Court of the Cayman Islands in connection with the Cayman liquidations of
      the International Fund, the Intermediate Fund and the Master Fund (“Cayman Liquidation
      Proceedings”). Confidential Material, and any and all information contained therein, may
      not be given, shown, made available to or communicated by the Liquidators (or anyone
      else entitled to receive it under the terms of this Order) except to the following:

      (a)      the PPVA Funds’ respective Liquidation Committees, Steering Committees,
               actual or potential funders, and their respective legal counsel;



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      (b)      the Liquidators’ employees and agents (including employees of Borrelli Walsh
               and RHSW Caribbean), legal counsel and legal counsel’s staff working under the
               direction of such counsel;

      (c)      the Court, its officers and clerical staff overseeing these Chapter 15 Cases;

      (d)      the Cayman court in which the Cayman Liquidation Proceedings are pending
               (“Cayman Court”), provided that (i) nothing herein is deemed to be a
               determination of whether such disclosure is permissible under Cayman law;
               (ii) Liquidators adhere to all confidentiality protections afforded to submissions
               made to the Cayman Court; (iii) Liquidators provide BDO USA prompt notice in
               the event any person files a petition in the Cayman Court seeking access to
               Confidential Material (if any) submitted by the Liquidators; and (iv) any such
               disclosure of Confidential Material shall not waive any confidentiality protection
               or constitute any admission, consent, or waiver by BDO USA in any respect, nor
               shall the Liquidators argue that such disclosure constitutes any submission by
               BDO USA to the jurisdiction of the Cayman Court;

      (e)      subject to paragraph 11 of this Order, any other court or tribunal (including
               arbitration tribunals) in connection with any proceeding brought or defended by
               or on behalf of the Liquidators or PPVA Funds (a “Follow On Action”), and,
               upon their request and subject to paragraph 6 below, the parties to such
               proceedings and their legal counsel;

      (f)      court reporters and recorders transcribing or recording testimony or hearings in
               these Chapter 15 Cases, the Cayman Liquidation Proceedings, or a Follow-On
               Action;

      (g)      actual or potential witnesses and potential counterparties, and their respective
               counsel, who in good faith are shown or questioned about such material: (i) in
               order to assist the Liquidators in the discharge of their duties, or (ii) in the
               investigation and pursuit of potential claims by or on behalf of the Liquidators or
               the PPVA Funds, provided that any potential counterparty to whom disclosure is
               made pursuant to this paragraph agrees not to use any Confidential Material in
               any way whatsoever in any pending or future proceeding against BDO USA;

      (h)      experts or consultants assisting the Liquidators in their investigations, these
               Chapter 15 Cases, the Cayman Liquidation Proceedings, or a Follow-On Action,
               provided that such expert or consultant is using the Confidential Material solely in
               connection with the Liquidators’ investigations, these Chapter 15 Cases, the
               Cayman Liquidation Proceedings, or a Follow-On Action;

      (i)      outside photocopying, graphic production services, or litigation support services,
               as necessary or appropriate for use in connection with these Chapter 15 Cases, the
               Cayman Liquidation Proceedings, or a Follow-On Action;

      (j)      issuers of an authorized governmental request, document request, subpoena, or
               other process, subject to paragraph 6 below;

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      (k)      any other person or entity with respect to whom BDO USA may consent in
               writing or as the Court may further order; and

      (l)      for the avoidance of doubt, without the express written permission of BDO USA
               or further court order, the Liquidators (or anyone else entitled to receive
               Confidential Material under the terms of this Order) may not disclose any
               Confidential Material (or information contained therein) to (i) the court-appointed
               receiver in Case No. 1:16-cv-6848 pending in the Eastern District of New York
               (the “SEC Receiver”), (ii) legal counsel to the SEC Receiver, (iii) experts or
               consultants assisting the SEC Receiver or legal counsel to the SEC Receiver, or
               (iv) any agents thereof, except in connection with the joint investigation, joint
               pursuit of claims, or joint litigation by (or litigation between) one or more of the
               PPVA Funds, and provided that the SEC Receiver agrees not to use any such
               Confidential Material (obtained pursuant to this limited exception) in any way
               whatsoever in any pending or future proceeding against BDO USA (unless it is a
               joint proceeding with one or more of the PPVA Funds or as otherwise ordered by
               a court or tribunal).

5.    Prerequisite to Disclosure of Designated Material. Before the Liquidators (or anyone
      to receive Confidential Material under the terms of this Order) give any person or their
      representative(s) identified in Paragraph 4(a), 4(b), 4(g), 4(h), or 4(l), access to
      Confidential Material, the Liquidators shall give such person or their representative(s) a
      copy of this Order and such persons or their representative(s) shall be bound to comply
      with the confidentiality provisions of this Order.

6.    Disclosure of Designated Material in Other Proceedings. If the Liquidators (or any
      other individual or entity receiving Discovery Material covered by this Order) are
      subpoenaed in another action or proceeding (including any Follow-On Action described
      above) or served with a document demand in any such proceeding and such subpoena or
      document demand seeks Confidential Material, the Liquidators (or other individual or
      entity) shall notify BDO USA (to the extent permitted by applicable law, court or tribunal
      rules, regulation or government agency) in email and hard copy via overnight mail to
      Seth Friedman and Rebecca C. Martin, McDermott Will & Emery LLP, 340 Madison
      Avenue, New York, New York 10173, sfriedman@mwe.com and rcmartin@mwe.com,
      within five (5) days of the receipt of such request, or within one (1) day of the receipt of
      such request if the return date is less than seven (7) days from receipt, of said subpoena or
      other process or order (and shall furnish BDO USA with a copy of the same). The
      Liquidators shall not produce the Confidential Material until the earlier of: (i) receipt of
      prior written consent from BDO USA; (ii) the return date of the subpoena or other
      process (unless prior to the return date BDO USA files a motion to quash or a motion for
      a protective order, and the filing of the motion suspends the return date); or (iii) five (5)
      business days after a decision on any such motion to quash or motion for a protective
      order or such shorter period as the Court may direct. Nothing herein shall prevent the
      Liquidators from complying with a court or tribunal order or timely responding to a
      subpoena or document demand.



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7.    Manner of Objecting to Designated Material. If the Liquidators object to the
      designation of any Confidential Material, the Liquidators shall first raise the objection
      with BDO USA in writing, and confer in good faith to attempt to resolve any dispute. If
      the Parties cannot resolve their dispute, the Liquidators may submit a letter to the Court
      no more than three pages in length objecting to the designation and seeking its removal or
      other appropriate relief (a “Designation Objection”). BDO USA may submit a response
      letter to the Court no more than three pages in length within five calendar days of the date
      of submission of the Designation Objection. BDO USA shall have the burden of proving
      that the challenged material is entitled to protection because it contains: (a) a trade secret
      or confidential research, development or commercial information protected by Rule 9018
      of the Federal Rules of Bankruptcy Procedure, or protected by any other applicable
      Federal Rule of Bankruptcy Procedure, (b) information subject by law or by contract to a
      legally protected right of privacy, or (c) information that BDO USA is legally obligated
      by law or contract to keep confidential.

8.    Exclusions. The Liquidators shall have no obligation under this Order as to Confidential
      Material which: (a) is known to or otherwise in the possession, custody, or control of the
      Liquidators at the time of disclosure, without obligation of confidentiality; (b) is
      independently developed by Liquidators without reference to or use of BDO USA’s
      Confidential Material (or the confidential information of another party); (c) becomes
      known to the Liquidators from another source, unless the Liquidators know or reasonably
      believe that such other source was subject to a confidentiality restriction at the time of
      disclosure to Liquidators; or (d) is or becomes part of the public domain through no
      wrongful act of Liquidators.

9.    Unauthorized Disclosure of Confidential Material. If the Liquidators (or other
      individual or entity) learn that, by inadvertence or otherwise, they have disclosed
      Confidential Material to any person or in any circumstance not authorized under this
      Order, the Liquidators (or other individual or entity) must immediately (a) use reasonable
      commercial efforts to retrieve all copies of the Confidential Material; (b) inform the
      person or persons to whom unauthorized disclosure was made of all the terms of this
      Order; and (c) and within two days of learning of such unauthorized disclosure, notify
      BDO USA of the identity of the person or entity to whom the disclosure was made, the
      circumstances surrounding the disclosure, and the steps taken to recover the disclosed
      Confidential Material and ensure against further dissemination or use thereof.

10.   Inadvertent Production of Privileged Material. Inadvertent production of any
      Discovery Material that BDO USA later claims in good faith should not have been
      produced because of the attorney-client privilege or work product doctrine
      (“Inadvertently Produced Privileged Information”), will not by itself constitute a waiver
      of any such privilege. Promptly after BDO USA discovers that it has produced
      Inadvertently Produced Privileged Information, BDO USA shall request the return of
      such Inadvertently Produced Privileged Information by identifying in writing the
      Discovery Material inadvertently produced and the basis for withholding such Discovery
      Material from production. If BDO USA requests the return of Inadvertently Produced
      Privileged Information pursuant to this paragraph and the Liquidators do not dispute the
      privilege claim, they shall promptly take all commercially reasonable steps to return or

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      destroy the Discovery Material (and copies thereof) and shall take all commercially
      reasonable steps to sequester or destroy any work product that incorporates the
      Inadvertently Produced Privileged Information. If the Liquidators dispute the privilege
      claim, they must notify BDO USA of the dispute and the basis therefor in writing within
      ten (10) days of receipt of BDO USA’s notification. Other than for an in camera review
      in connection with seeking a determination by the Court, the Liquidators may not use or
      disclose any alleged Inadvertently Produced Privileged Information until the dispute is
      resolved. The Parties shall thereafter meet and confer regarding the disputed privilege
      claim. If the Parties cannot resolve their dispute, either Party may seek a determination
      from the Court as to whether the privilege applies. BDO USA must preserve the
      Inadvertently Produced Privileged Information and the Liquidators may not use the
      Inadvertently Produced Privileged Information for any purpose until the dispute is
      resolved.

11.   Court Filings. If the Liquidators or PPVA Funds wish to file any Confidential Material
      or any information derived therefrom with any court (other than the Cayman Court), such
      material or information shall be filed with the court under seal, unless otherwise
      consented to in writing by BDO USA, and provided that the court permits such filing
      under seal. It shall be BDO USA’s burden to make any appropriate motion for filing of
      Confidential Material under seal, or if such material has already been filed under seal, to
      keep the material sealed. It shall be BDO USA’s burden to establish good cause for filing
      and/or maintaining any such material under seal. Nothing herein shall preclude the
      Liquidators or the PPVA Funds from using Confidential Material in any proceeding in
      which the court has denied a motion to seal or otherwise does not permit such filings
      under seal. Filings with the Cayman Court may be made in accordance with paragraph
      4(d) of this Order.

      Before filing any Confidential Material with the Court in these Chapter 15 Cases, the
      Liquidators shall first consult with BDO USA to determine whether, with BDO USA’s
      consent, the document or a redacted version of the document may be filed with the Court
      not under seal.

12.   Return or Destruction of Confidential Material. Unless otherwise agreed to by the
      Parties, at the conclusion of the Cayman Liquidation Proceedings, all Follow-On Actions,
      and these Chapter 15 Cases, including any appeals from any judgment or order entered
      by the Cayman Court or this Court, the Liquidators (or anyone else entitled to receive
      such material) shall destroy or return to BDO USA all Discovery Material (and any copy
      thereof) designated as “Confidential.” Discovery Material that has been received
      electronically and that cannot be returned or destroyed must be electronically deleted and
      deleted from “trash” files. Notwithstanding anything to the contrary in this paragraph, the
      Liquidators (and their counsel) may retain: (i) any and all items, including but not limited
      to Discovery Material designated as “Confidential” that were filed with the Court or
      elsewhere in connection with a Follow-On Action; (ii) counsel’s work product which
      may contain “Confidential” information; and (iii) any Discovery Material required by law
      to be preserved; provided that counsel continues to treat all Confidential Material in the
      manner provided in this Order.


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13.   Survival. The provisions of this Order shall, absent written permission of BDO USA or
      further order of the Court, continue to be binding throughout and after the conclusion of
      these Chapter 15 Cases, including without limitation any appeals therefrom.

14.   No Waiver. Nothing contained herein shall be deemed a waiver or relinquishment by the
      Parties of any objection, including but not limited to, any objection concerning the
      confidentiality or proprietary nature of any documents, information, or data requested by
      the Foreign Representatives, any right to object to any Discovery Request, any right to
      pursue any appeal of or seek appropriate relief from any order relating to any Discovery
      Request, or any right to object to the admissibility of evidence on any ground in any
      proceeding whatsoever, or to seek any further protective order, or to seek relief from the
      Court or any other applicable court or tribunal from any provision of this Order by
      application on notice on any grounds. This Order does not affect the rights of BDO USA
      with respect to the Discovery Material, and BDO USA is not otherwise restricted from
      use or disclosure of its own Discovery Material. The production of Discovery Material
      shall not constitute an admission by BDO USA, nor waive any of BDO USA’s rights,
      with respect to the propriety of their disclosure or their relevance, including, but not
      limited to, waiver of any claim or defense. Nothing in this Order shall be construed as
      precluding BDO USA from objecting to any use of Discovery Material. For the
      avoidance of doubt, BDO USA expressly reserves its right to object to the use of any
      Discovery Material in any future arbitration proceeding between the Parties and to seek
      appropriate relief from any such tribunal with respect to any Discovery Material, and the
      Liquidators expressly reserve their right to oppose any such objection or request for
      relief.

15.   Modification. Each of the Parties hereto shall be entitled to seek modification of this
      Order by application to the Court on notice to the other Parties hereto.

16.   Retention of Jurisdiction. This Court retains jurisdiction over any dispute arising under
      this Order.


Dated: May 13, 2019
       New York, New York              /s/ Timothy W. Walsh___________
                                       Timothy W. Walsh
                                       McDermott Will & Emery LLP
                                       340 Madison Avenue
                                       New York, New York 10173-1922
                                       Telephone:(212) 547-5400
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                                       Email:     twwalsh@mwe.com

                                       Attorneys for BDO USA LLP




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                                  /s/ Jack B. Gordon______________
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                                  A. Katherine Toomey
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                                  Attorneys for the Liquidators of
                                  Platinum Partners Value Arbitrage Fund
                                  (International) Limited (In Official Liquidation)
                                  Partners Value Arbitrage Intermediate Fund Ltd. (In
                                  Official Liquidation) and
                                  Platinum Partners Value Arbitrage Fund (USA) L.P.
                                  (In Liquidation)


                                  /s/ Lon J. Seidman______________
                                  Lon J. Seidman
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                                  Attorneys for the Liquidators
                                  of Platinum Partners Value Arbitrage
                                  Fund L.P. (In Official Liquidation)


IT IS SO ORDERED,

Dated: May 16, 2019
       New York, New York
                                  /S/ Shelley C. Chapman
                                  Honorable Shelley C. Chapman
                                  United States Bankruptcy Judge




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